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                             UNITED STATES DISTRICT COURT.
                           SOUTHERN DISTRICT OF CALIFORNIA
                                                                         15JAN 20 Pri 3: 34

 UNITED STATES OF AMERICA,

                             Plaintiff,                                                 DEPUTY

                    vs.                              JUDGMENT OF DISMISSAL
 DIANA AZUCENA GARCIA (2),

                             Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

       an indictment has been filed in another case against the defendant and
       the Court has granted the motion of the Government for dismissal of
       this case, without prejudice; or

       the Court has dismissed the case for unnecessary delay; or

___
  x_ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

       the Court has granted the motion of the defendant for a judgment of
       acquittal; or

       a jury has been waived, and the Court has found the defendant not
       guilty; or

       the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment:

21:952,960; 18:2 - hnportation of Methamphetamine; Aiding and Abetting



              IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: JANUARY 20, 2015


                                                     U.S. District Judge
